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             APPLICATION GRANTED
             Although the Court does not lightly grant applications for
             appointment of new CJA counsel, the circumstances
             described herein warrant that relief in this case. However, the
             defendant is advised that it is very unlikely the Court will
             grant a second such application. Mr. Feldman is relieved with
             the thanks of the Court. Theodore S. Green, Esq., is
             appointed as new CJA counsel. The next scheduled status
             conference is 2/19/2021 at 11:00 a.m., by telephone.
             SO ORDERED:

             ________________________________
             Vincent L. Briccetti, U.S.D.J. 1/12/2021
